      Case 3:05-cr-00234-WHA-WC Document 80 Filed 12/01/05 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v                                                 )      3:05-CR-234-A
                                                  )      [WO]
                                                  )
TYRONE WHITE                                      )


                                          ORDER

       For good cause, it is ORDERED that the supplemental pretrial conference scheduled

to follow the evidentiary hearing on November 30, 2005 is CONTINUED.

       Counsel for all parties shall bring their calendar to the December 7, 2005 evidentiary

hearing in order to set a pretrial conference and any other appropriate deadlines; thereafter,

an appropriate Arraignment Order will be entered in response to the Defendant’s arraignment

on the superseding indictment filed herein




       Done this 1 st day of December, 2005.


                                           /s/ Delores R. Boyd
                                           DELORES R. BOYD
                                           UNITED STATES MAGISTRATE JUDGE
